                         UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION

                                    DOCKET NO. 3:07CR61-W

UNITED STATES OF AMERICA,                          )
                                                   )             PRELIMINARY ORDER
               v.                                  )               OF FORFEITURE
                                                   )
(6) ALONZO JOHNSON                                 )


       In the Superseding Bill of Indictment in this case, the United States sought forfeiture of

property of the defendant pursuant to 18 U.S.C. §924(d) and 21 U.S.C. §853.

       The defendant subsequently pled guilty to Count Four, as well as all other counts in which

he was charged, without a plea agreement, thereby implicitly admitting the specific allegations

regarding the firearm and ammunition charged in that count, and was adjudged guilty of the offense

charged in that count.

       It is therefore ORDERED:

       1. Based upon plea of guilty entered by the defendant, the United States is authorized to seize

the following property, and it is hereby forfeited to the United States for disposition according to

law, subject to the provisions of 21 U.S.C. §853(n): one Ruger .45 caliber semi-automatic pistol and

ammunition.

       2. Pursuant to 21 U.S.C. §853(n)(1), the government shall publish in a newspaper of general

circulation, notice of this order; notice of its intent to dispose of the property in such manner as the

Attorney General may direct; and notice that any person, other than the defendant, having or

claiming a legal interest in any of the above-listed forfeited property must file a petition with the

Court within thirty days of the final publication of notice or of receipt of actual notice, whichever




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is earlier. This notice shall state that the petition shall be for a hearing to adjudicate the validity of

the petitioner’s alleged interest in the property, shall be signed by the petitioner under penalty of

perjury, and shall set forth the nature and extent of the petitioner’s right, title or interest in the

forfeited property and any additional facts supporting the petitioner’s claim and the relief sought.

The United States may also, to the extent practicable, provide direct written notice to any person

known to have alleged an interest in property that is the subject of this order of forfeiture, as a

substitute for published notice as to those persons so notified.

        3. Upon adjudication of all third-party interests, this Court will enter a final order and

judgment of forfeiture pursuant to 21 U.S.C. §853(n).

                                                    Signed: March 12, 2008




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